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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


KNIGHT FIRST AMENDMENT
INSTITUTE AT COLUMBIA
UNIVERSITY,

               Plaintiff,
                                                Oral Argument Requested
       v.
                                                Civil Action No. 1:17-cv-00548-TSC

DEPARTMENT OF HOMELAND
SECURITY, et al.,

               Defendants.


 PLAINTIFF’S CORRECTED MEMORANDUM IN SUPPORT OF CROSS-MOTION
FOR SUMMARY JUDGMENT AND OPPOSITION TO DEFENDANTS’ MOTION FOR
                      SUMMARY JUDGMENT


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       Plaintiff the Knight First Amendment Institute at Columbia University (the “Knight

Institute” or “Institute”) respectfully submits this memorandum of law in support of its cross-

motion for summary judgment against Defendants the Department of Homeland Security

(“DHS”), Customs and Border Protection (“CBP”), and Immigration and Customs Enforcement

(“ICE”) (collectively, the “Agencies”).1 It also submits this memorandum in opposition to the

Agencies’ motion for summary judgment.

                                PRELIMINARY STATEMENT

       This Freedom of Information Act (“FOIA”) lawsuit seeks records related to the

government’s suspicionless searches of individuals’ electronic devices at the nation’s borders.

Many thousands of individuals, including U.S. citizens, have been subjected to these searches,

which CBP and ICE have conducted at dramatically increasing rates in recent years. These

searches are incredibly intrusive, exposing volumes of private and expressive information stored

on travelers’ cell phones, laptops, and other personal electronic devices. Reports indicate that they

may also be discriminatory. CBP appears to have targeted Muslims, including Muslim Americans,

for electronic device searches at the border. Additionally, CBP has searched, and in some instances

seized, information stored on the electronic devices of journalists, despite their objections to the

forced disclosure of confidential source information. These suspicionless searches of U.S. citizens’

and other travelers’ electronic devices thus raise serious constitutional questions.

       To inform the public about the government’s exercise of its claimed authority to conduct

suspicionless searches of travelers’ electronic devices at the border, the Knight Institute filed a

FOIA request (the “Request”) with the Agencies in March 2017, seeking several categories of




   1
   The Knight Institute has decided not to challenge withholdings by the Transportation Security
Administration and the DHS Office of the Inspector General (“OIG”) in this case.


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records concerning the policies, practices, and procedures for these searches. In response to the

Request and as a result of this litigation, the Agencies have collectively released thousands of

pages of records providing some insight into those searches. Many responsive records, however,

have been heavily redacted or withheld in full.

       As relevant to the present cross-motion for summary judgment, the Agencies have failed

to justify their withholding of responsive information under FOIA Exemptions 5, 6, 7(C), and 7(E).

5 U.S.C. §§ 552(b)(5), (b)(6), (b)(7)(C), (b)(7)(E). The explanations the Agencies offer in support

of their motion for summary judgment do not carry their burden of demonstrating that the

exemptions they claim actually apply to the information they have withheld. Given the extensive

nature of some redactions, the Agencies’ explanations do not justify their withholding of what

appears to be segregable, non-exempt information. And for certain redacted or withheld records,

the Agencies failed to offer any explanations at all. Therefore, as set forth in further detail below,

the Court should grant summary judgment in favor of the Knight Institute.

                                  FACTUAL BACKGROUND

I.     Government Searches of Electronic Devices at the Border

       In August 2009, CBP and ICE each issued a directive purporting to authorize suspicionless

searches of travelers’ electronic devices—including cell phones, tablets, and laptop computers—

at the border. See Answer at Ex. A (“CBP Border Search Directive”), ECF No. 18-2; Ex. B (“ICE

Border Search Directive”), ECF No. 18-3.2 Specifically, the CBP Border Search Directive stated

that CBP officers “may” search electronic devices “with or without individualized suspicion.” CBP




2
 CBP issued a revised Border Search Directive after the commencement of this lawsuit, in
January 2018. CBP, Border Search of Electronic Devices, CBP Directive No. 3340-049A (Jan. 4,
2018), https://perma.cc/3QKY-MPGR.



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Border Search Directive § 5.1. It further permitted CBP officers to seize electronic devices without

individualized suspicion for the time necessary to search the devices. Id. § 5.3. Similarly, the ICE

Border Search Directive stated that ICE Special Agents “may search, detain, seize, retain, and

share electronic devices, or information contained therein, with or without individualized

suspicion.” ICE Border Search Directive § 6.1. CBP officers document searches of electronic

devices in electronic media reports (“EMRs”), which are stored in CBP’s TECS database. See 1st

Joint Stat. Report at 3–4, ECF No. 21. Electronic device searches conducted by ICE agencies are

documented in reports of investigation (“ROIs”). See 2nd Joint Stat. Report at 5, ECF No. 23.

     Pursuant to these directives, CBP and ICE have conducted well over 100,000 searches of

electronic devices since fiscal year 2012. While ICE does not track the number of basic device

searches it conducts each year, CBP conducted approximately 108,000 searches from fiscal year

2012 through fiscal year 2018. See Alasaad v. Nielsen, No. 17-cv-11730-DJC, 2019 WL 5899371,

at *12 (D. Mass. Nov. 12, 2019). And the number of searches increased dramatically from 2015

to 2017. CBP reportedly conducted 8,503 device searches in fiscal year 2015. See Am. Compl. Ex.

A (“Request”), ECF No. 10-1 (citing Cynthia McFadden, et al., American Citizens: U.S. Border

Agents Can Search Your Cell Phone, NBC News (Mar. 13, 2017), https://perma.cc/69P7-RPXR).

According to CBP statistics, that number jumped to 19,051 searches in fiscal year 2016 and 30,200

searches in fiscal year 2017. Press Release, U.S. Customs and Border Patrol, CBP Releases

Updated Border Search of Electronic Device Directive and FY17 Statistics (Jan. 5, 2018),

https://perma.cc/NV2F-BGTG.

     During this time, news reports raised serious concerns that border officers are abusing their

authority to search travelers’ electronic devices. See Request at 3–4. Border officers reportedly

subjected Isma’il Kushkush, a former acting bureau chief of the New York Times in East Africa,




                                                 3
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to an electronic device search January 2016 while interrogating him regarding his reporting on

refugees. See Alexandra Ellerbeck, Security Risk for Sources as U.S. Border Agents Stop and

Search Journalists, Committee to Protect Journalists (Dec. 9, 2016), https://perma.cc/Q3HA-

YAZ3. Border officers reportedly detained Maria Abi-Habib, a reporter for the Wall Street

Journal, after she landed in Los Angeles in July 2016; after interrogating her about her reporting,

they attempted to confiscate her cell phones, which contained confidential source information. See

Mazin Sidahmed, Department of Homeland Security Detains Journalist Returning from Beirut,

Guardian (July 21, 2016), https://perma.cc/3JVS-693T. In 2017, the Florida Branch of the Council

for American-Islamic Relations filed ten complaints with CBP on behalf of Muslim-American

travelers who were targeted for electronic device searches at the border. Press Release, CAIR

Florida, CAIR-FL Files 10 Complaints with CBP After the Agency Targeted and Questioned

American-Muslims About Religious and Political Views (Jan. 18, 2017), https://perma.cc/5R5M-

A8UD. More recently, CBP has reportedly targeted activists, advocates, and journalists covering

migration issues at the U.S.-Mexico border, subjecting them to extended questioning while

detaining their electronic devices. See Tom Jones et al., Source: Leaked Documents Show the U.S.

Government Tracking Journalists and Immigration Advocates Through a Secret Database, NBC7

(Mar. 6, 2019), https://perma.cc/2W5D-X6FS. And the District Court for the District of

Massachusetts has concluded that CBP’s and ICE’s suspicionless searches of travelers’ electronic

devices are unconstitutional. See Alasaad, 2019 WL 5899371, at *20.

II.    The Knight Institute’s Request

       Seeking to inform the public about the government’s suspicionless searches of electronic

devices at the nation’s borders, the Knight Institute submitted identical FOIA requests to DHS,




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ICE, and CBP in March 2017. See Am. Compl. ¶¶ 17–18, ECF No. 10. The Request sought seven

sets of records:

       1) records from the Agencies’ TECS database containing information about the number
          and reasons for each search, detention, retention, or sharing of individuals’ electronic
          devices or the information accessible on them since fiscal year 2012;

       2) documents relating to each instance since fiscal year 2012 in which CBP or ICE
          searched, detained, retained, or shared an electronic device or the information
          accessible on it;

       3) revisions of or documents supplementing or superseding the CBP and ICE Directives
          concerning border searches of electronic devices;

       4) certain documents relating to any reviews of CBP’s or ICE’s policies or practices
          concerning electronic device searches;

       5) documents concerning or relating to complaints filed by individuals or organizations
          about CBP’s or ICE’s search, review, retention, or sharing of the information on
          travelers’ electronic devices;

       6) documents reflecting policies, practices, or procedures concerning how CBP officers
          handle “privileged or other sensitive materials,” including “work-related information
          carried by journalists” as described in the CBP Directive concerning border searches
          of electronic devices; and

       7) documents reflecting policies, practices, and procedures concerning CBP’s anti-
          discrimination policy as applied to discretionary electronic device searches.

Am. Compl. ¶ 21; see Request at 4–6. The Knight Institute sought expedited processing of the

Request and a waiver or limitation of fees. Id. at 7–9. Seeking to enforce the Request, the Knight

Institute filed a Complaint in March 2017, followed by an Amended Complaint in April 2017.

Compl., ECF No. 1; Am. Compl.

III.   The Agencies’ Responses

       Following the initiation of the lawsuit, the parties entered into negotiations regarding the

terms and timing of the Agencies’ searches for records responsive to the Request. See, e.g., 3d

Joint Stat. Report 2–4, ECF No. 24; 4th Joint Stat. Report 1, 4, ECF No. 25. Over the course of the

following year, the parties reached a number of agreements regarding the Agencies’ searches. The


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Agencies subsequently released thousands of pages of responsive records, but many of those

records were extensively redacted or withheld in full.

       CBP: The parties agreed that, in response to Item 2 of the Request, CBP would process a

random two-percent sample of EMRs created in the eighteen-month period between July 16, 2016

and January 16, 2018. 5th Joint Stat. Report at 4, ECF No. 26. The parties further agreed that CBP

would also produce a spreadsheet displaying field entry data from all EMRs created between fiscal

year 2012 and December 31, 2017, except for those data fields CBP considered exempt under

FOIA, which CBP would identify for the Knight Institute. 1st Joint Stat. Report at 2; 7th Joint Stat.

Report at 6–7, ECF No. 30. Between May 2017 and September 2019, CBP released these and other

records responsive to the Request, totaling more than 4,000 pages, while withholding responsive

information under FOIA Exemptions 3, 5, 6, 7(C), and 7(E). 1st Joint Stat. Report at 2; 4th Joint

Stat. Report at 2–3; 6th Joint Stat. Report at 2, 4, ECF No. 29; 7th Joint Stat. Report at 2, 8; 8th

Joint Stat. Report at 5, ECF No. 31; 9th Joint Stat. Report at 2–3, ECF No. 32; 10th Joint Stat.

Report at 1, ECF No. 34; 11th Joint Stat. Report at 1, ECF No. 39; see also, Defs.’ Mot. for Summ.

J. (“Defs.’ MSJ”) Ex. C, at ¶ 6, ECF No. 46-1 (“CBP Decl.”). Between March 15, 2019 and

September 23, 2019, CBP released 482 pages of records referred by DHS and TSA, while

withholding many of those pages in part and withholding an additional 492 pages in full under

Exemptions 3, 5, 6, 7(C), and 7(E). 11th Joint Stat. Report at 4; 14th Joint Stat. Report at 1, ECF

No. 43; 15th Joint Stat. Report at 1, ECF No. 44.

       ICE: ICE represented that it did not specifically track electronic device searches, but that

it would search its Investigative Case Management database for ROIs responsive to Item 2 of the

Request using agreed-upon search terms. 1st Joint Stat. Report at 4; 5th Joint Stat. Report at 1.

Between June 2017 and April 2018, ICE released these and other records responsive to the




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Request, totaling more than 1,500 pages, while withholding responsive information under

Exemptions 5, 6, 7(C), and 7(E). 6th Joint Stat. Report at 1, 3. Between February 9, 2019 and

October 4, 2019, ICE released an additional 276 pages of records referred by DHS and CBP, while

withholding information under Exemptions 5, 6, 7(A),3 7(C), and 7(E). 10th Joint Stat. Report at

2; 13th Joint Stat. Report at 2, ECF No. 41; 15th Joint Stat. Report at 1. On September 20, 2018,

ICE provided the Knight Institute with a draft, sample Vaughn index explaining its withholding of

responsive information from 74 records identified by the Knight Institute. 8th Joint Stat. Report at

1; 9th Joint Stat. Report at 3. Finding many of those explanations inadequate, the Knight Institute

did not decide to voluntarily dismiss ICE from the case at that point, and it later informed ICE that

it anticipated challenging ICE’s withholdings under 5, 6, 7(A), 7(C), and 7(E). See 15th Joint Stat.

Report at 1–2.

       DHS: Following negotiations regarding search terms tailored to the individual items of the

Request, the parties agreed that DHS would ask specified components to search for records

responsive to Items 1, 4, 6, and 7 of the Request, 8th Joint Stat. Report at 3, and that DHS would

ask its Office for Civil Rights and Civil Liberties (“CRCL”) to search its complaint-tracking

system for records responsive to Item 5 of the Request using agreed-upon search terms. 7th Joint

Stat. Report at 7; 8th Joint Stat. Report at 2. Between December 1, 2017 and May 10, 2019, DHS

released 2,649 pages of responsive records, while withholding information from 1,696 of those

pages under Exemptions 5 and 6, and withholding an additional 1,759 pages under Exemptions 3,

5, and 7(E). 6th Joint Stat. Report at 2, 4; 7th Joint Stat. Report at 1–2; 9th Joint Stat. Report at 3;




   3
     ICE states that it has not made any withholdings under Exemption 7(A), Defs.’ MSJ Ex. F, at
¶ 19, ECF No. 46-7, but ICE’s counsel acknowledged that the documents it released on October
4, 2019, contained “redactions pursuant to FOIA Exemptions 5, 6, 7(A), 7(C), and/or 7(E).” 15th
Joint Stat. Report at 1.


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10th Joint Stat. Report at 1–2; 12th Joint Stat. Report at 3, ECF No. 40; Decl. of Matthew Hellman

in Supp. of Pl.’s Cross-Mot. for Summ. J. (“Hellman Decl.”), Ex. U (December 1, 2017 cover

letter accompanying DHS’s production of documents).

                                          *      *       *

       The Agencies filed a motion for summary judgment on January 31, 2020. The Knight

Institute’s cross-motion for summary judgment follows.

                                      LEGAL STANDARD

       Congress passed FOIA to “ensure an informed citizenry, vital to the functioning of a

democratic society, needed to check against corruption and to hold the governors accountable to

the governed.” NLRB v. Robbins Tire & Rubber Co., 437 U.S. 214, 242 (1978). Consistent with

this congressional intent, FOIA “requires federal agencies to disclose information to the public

upon reasonable request unless the records at issue fall within specifically delineated exemptions.”

Reporters Comm. for Freedom of Press v. FBI, 877 F.3d 399, 401 (D.C. Cir. 2017) (quoting

Judicial Watch, Inc. v. FBI, 522 F.3d 364, 365–66 (D.C. Cir. 2008)). FOIA further requires

agencies to disclose “[a]ny reasonably segregable portion of a record . . . after deletion of the

portions which are exempt.” 5 U.S.C. § 552(b)(9); Sussman v. U.S. Marshals Serv., 494 F.3d 1106,

1116 (D.C. Cir. 2007). In the D.C. Circuit, “[i]t has long been a rule . . . that non-exempt portions

of a document must be disclosed unless they are inextricably intertwined with exempt portions.”

Mead Data Cent., Inc. v. U.S. Dep’t of the Air Force, 566 F.2d 242, 260 (D.C. Cir. 1977).

       Agencies bear the burden of demonstrating that any withheld information falls within the

claimed FOIA exemptions. 5 U.S.C. § 552(a)(4)(B); Citizens for Responsibility & Ethics in Wash.

v. U.S. Dep’t of Justice, 922 F.3d 480, 487 (D.C. Cir. 2019). To meet this burden, agencies must

submit affidavits or declarations that “describe the justifications for nondisclosure with reasonably




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specific detail, demonstrate that the information withheld logically falls within the claimed

exemption, and are not controverted by either contrary evidence in the record nor by evidence of

agency bad faith.” People for the Ethical Treatment of Animals v. U.S. Dep’t of Health & Human

Servs., 901 F.3d 343, 349 (D.C. Cir. 2018) (citation omitted). The justification for invoking a FOIA

exemption must be “logical” or “plausible.” See Larson v. Dep’t of State, 565 F.3d 857, 862 (D.C.

Cir. 2009); see also ACLU v. U.S. Dep’t of Def., 628 F.3d 612, 624 (D.C. Cir. 2011) (noting that

to meet its burden, the CIA’s justification for invoking a FOIA exemption must “be both

‘plausible’ and ‘logical.’”). And an agency’s “affidavits will not suffice if the agency’s claims are

conclusory, merely reciting statutory standards, or if they are too vague or sweeping.” Stein v. U.S.

Dep’t of Justice, 197 F. Supp. 3d 115, 121 (D.D.C. 2016) (quoting Hayden v. Nat’l Sec.

Agency/Cent. Sec. Serv., 608 F.2d 1381, 1387 (D.C. Cir. 1979) (alteration in original)).

       Agencies typically detail the justifications for their withholdings in a Vaughn index. See

Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973). “The measure of a Vaughn index is its descriptive

accuracy.” King v. U.S. Dep’t of Justice, 830 F.2d 210, 225 (D.C. Cir. 1987). To achieve the

required descriptive accuracy, “[a] withholding agency [generally] must describe each document

or portion thereof withheld, and for each withholding it must discuss the consequences of

disclosing the sought-after information.” Id. at 223–24. It is the agency’s burden to “disclose as

much information as possible without thwarting the exemption’s purpose.” Hall v. Dep’t of Justice,

552 F. Supp. 2d 23, 27 (D.D.C. 2008) (quoting King, 830 F.2d at 224). Ultimately, the Vaughn

index must allow a requester to “argue effectively for disclosure” and the court to “rule

effectively.” Campaign for Responsible Transplantation v. U.S. Food & Drug Admin., 219 F.

Supp. 2d 106, 116 (D.D.C. 2002) (citing King, 830 F.2d at 225); see also Coastal States Gas Corp.

v. Dep’t of Energy, 617 F.2d 854, 861 (D.C. Cir. 1980). Therefore, a Vaughn index is inadequate




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if it features “general and vague” descriptions of withheld information, “purely conclusory”

application of exemptions to the documents, and analyses that merely “parrot the statutory

standards that correspond to each exemption.” Bagwell v. U.S. Dep’t of Justice, No. 15-CV-00531

(CRC), 2015 WL 9272836, at *4 (D.D.C. Dec. 18, 2015).

       “FOIA cases typically and appropriately are decided on motions for summary judgment.”

Georgacarakos v. FBI, 908 F. Supp. 2d 176, 180 (D.D.C. 2012) (quotation marks omitted). At

summary judgment, the Court assesses de novo whether the agency has properly withheld

information under the claimed FOIA exemptions. 5 U.S.C. § 552(a)(4)(B). To ensure that the

documents at issue fall within the asserted exemptions, it is within the Court’s discretion to require

in camera inspection of those documents. Carter v. U.S. Dep’t of Commerce, 830 F.2d 388, 392–

93 (D.C. Cir. 1987); see also 5 U.S.C. § 552(a)(4)(B). Ultimately, summary judgment may be

granted if the movant shows that “there is no genuine dispute as to any material fact” and “the

movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); see also Holcomb v.

Powell, 433 F.3d 889, 895 (D.C. Cir. 2006).

                                           ARGUMENT

       Relying on Exemptions 5, 6, 7(C), and 7(E), the Agencies have improperly withheld

information directly responsive to the Request. CBP has withheld certain categories of information

that the Knight Institute specifically requested from records including EMRs, spreadsheets

summarizing electronic device searches, traveler complaints, policies, presentations, and

handbooks. ICE has withheld similar information from ROIs and relevant handbooks. DHS has

withheld significant amounts of information from records documenting inspections, as well as

relevant reports, email communications, and memoranda. The Agencies’ declarations and

supporting Vaughn indices have failed to justify their withholdings under the claimed Exemptions.




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Furthermore, the Agencies have failed to demonstrate that they have released all segregable, non-

exempt information. Finally, with respect to certain withholdings, the Agencies failed to offer any

justifications whatsoever.

   I. DHS, CBP, AND ICE IMPROPERLY WITHHELD INFORMATION UNDER
      EXEMPTION 5.

       DHS, CBP, and ICE have not justified their reliance on Exemption 5 to withhold extensive

sections of responsive spreadsheets, email communications, memoranda, briefing materials, a

formal impact assessment, and other records. In many instances, the Agencies have withheld these

records in their entirety. “Exemption 5 allows agencies to withhold documents that would be

protected from disclosure in litigation under one of the recognized evidentiary or discovery

privileges.” Pub. Citizen, Inc. v. Office of Mgmt. & Budget, 598 F.3d 865, 874 (D.C. Cir. 2010).

The incorporated privileges include deliberative process privilege, attorney-client privilege, and

work product privilege. As always, it is the agencies’ burden “to show that requested material falls

within a FOIA exemption.” Petrol. Info. Corp. v. U.S. Dep’t of Interior, 976 F.2d 1429, 1433 (D.C.

Cir. 1992) (citing 5 U.S.C. § 552(a)(4)(B)).

       The Agencies’ declarations and accompanying Vaughn index entries4 have failed to

demonstrate the applicability of the deliberative process, attorney-client, and work product

privileges to six categories of documents. Specifically, DHS failed to justify its reliance on

Exemption 5 in withholding sections of a CRCL Impact Assessment of Border Searches of




   4
    See Defs.’ MSJ Ex. B (“Holzer Decl.”), Ex. A (“DHS Vaughn Index”), ECF No. 46-3; Id. Ex.
C (“Howard Decl.”), Attachment (“CBP Vaughn Index”), ECF No. 46-4; Id. Ex. F (“Fuentes
Decl.”), Ex. C (“ICE Vaughn Index”), ECF No. 46-7.


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Electronic Devices;5 a draft document by an unidentified CRCL employee;6 a memorandum from

the DHS General Counsel to the DHS Secretary;7 and certain email communications between the

DHS Office of the General Counsel and the CBP Office of the Chief Counsel.8 Likewise, CBP

failed to justify its withholding of documents detailing past border searches of electronic devices,9

and ICE failed to justify its withholding of a document titled “Computer Border Search Discussion

Topics.”10

       A.      Deliberative Process Privilege

       The Agencies invoked the deliberative process privilege but failed to justify its application

to the information they withheld under Exemption 5. The deliberative process privilege applies to

documents that are “predecisional”—“generated before the adoption of an agency policy”—and

“deliberative”—“reflect[ing] the give-and-take of the consultative process.” Coastal States Gas

Corp., 617 F.2d at 866. “A document that does nothing more than explain an existing policy cannot

be considered deliberative” and, accordingly, cannot qualify for the deliberative process privilege.

Pub. Citizen, 598 F.3d at 876.

       An agency fails to justify its invocation of the deliberative process privilege if it “does not

fully explain the deliberative processes, or final policies or decisions, connected with [the] entries”

or does not “provide even broad descriptions of the subject-matter or content of almost all the




   5
       DHS-001-00585-00903–08, DHS-001-00585-00911–13 (DHS Vaughn Index 21). This
document was withheld in full by DHS; documents withheld in full are not included as exhibits,
but can be sent to the Court on request.
   6
     DHS-001-00585-000298 (DHS Vaughn Index 15–16) (withheld in full).
   7
     DHS-001-00585-01873 (DHS Vaughn Index 23) (withheld in full).
   8
     Hellman Decl. Ex. I, DHS-001-00585-000117–33 (DHS Vaughn Index 8–9).
   9
      See Hellman Decl. Ex. H, CBP’s Mar. 15, 2019 release letter (271 pages withheld in full)
(CBP Vaughn Index 27–28).
   10
       2017-ICLI-0011 62–64, 2017-ICLI-0011 67–82 (ICE Vaughn Index 10–14) (withheld in
full).


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withheld entries.” Judicial Watch, Inc. v. U.S. Dep’t of Justice, No. CV 17-0832 (CKK), 2019 WL

4644029, at *8 (D.D.C. Sept. 24, 2019). In Coastal States Gas Corp., for example, the court held

that an index providing a brief description and identifying the author, addressee, and date of a

memorandum was “patently inadequate to permit a court to decide whether [Exemption 5] was

properly claimed.” 617 F.2d at 861. In American Immigration Council v. U.S. Department of

Homeland Security, the court found that the agency had “consistently failed” to justify its

withholdings under the deliberative process privilege. Its Vaughn index “invok[ed] the

deliberative-process privilege for a laundry list of records . . . without offering any description of

[the] process, the identities of either the drafters or recipients of the documents, or their respective

positions.” Am. Immigration Counsel v. U.S. Dep’t of Homeland Sec., 950 F. Supp. 2d 221, 240

(D.D.C. 2013).

          As in the above cases, the justifications offered by the Agencies here fall short. DHS

attempted to justify its complete withholding of multiple documents by parroting the applicable

legal standard. For example, it presented the following reasoning to justify withholding of a draft

document11 by an unidentified CRCL employee:

          This draft document, authored by an unidentified CRCL employee, contains the
          employee’s evaluation of and opinions about the effectiveness of DHS policies in
          safeguarding the rights of the public during searches of electronic devices at the
          border. The document does not represent a final agency decision and is both pre-
          decisional and deliberative. To release the document would expose the internal
          deliberations of a CRCL employee, impede the frank and candid exchange of ideas
          and information within the agency, reveal the evaluation and opinions of a CRCL
          employee, and ultimately have a chilling effect on intra-agency deliberations. The
          free-flow of information is critical to the agency being able to effectively evaluate
          matters; without it the agency will be hindered in its ability to deliberate on the best
          way to address complaints, identify policy concerns, and propose and adopt
          solutions that ultimately impact DHS and the public. Release of the document
          would pose a substantial risk of confusing the public by disclosing the thoughts,



   11
        DHS-001-00585-000298 (withheld in full).


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        recommendations, and opinions of a CRCL employee regarding the effectiveness
        of DHS policies that were not adopted by the agency.12

Nowhere in the above explanation does DHS identify the “final policies or decisions[] connected

with [the] entries.” Judicial Watch, Inc. v. U.S. Dep’t of Justice, 2019 WL 4644029, at *8. Rather,

it provides a vague description of the document’s contents followed immediately by a lengthy

repetition of the policy reasons underlying the deliberative process privilege. Similarly, DHS

withheld in full a memorandum from DHS General Counsel to the DHS Secretary13 but refused to

provide any information about the content of the memorandum or any decision to which it related:

        This memorandum from the DHS General Counsel provides legal advice to the
        Secretary for his consideration. The memorandum was antecedent to the making of
        any final agency decision and is therefore pre-decisional. The memorandum
        contains the advisory opinions, conclusions, and recommendations of the General
        Counsel for the Secretary’s consideration and reflects the give-and-take of the
        consultative process wherein the General Counsel discussed and weighed the merits
        of various positions. For these reasons the memorandum is deliberative. Disclosure
        of the memorandum would discourage the open and frank exchange of ideas
        between agency personnel resulting in a chilling effect on intra/inter-agency
        communications. In this instance, because the record contains legal advice, its
        release could dissuade agency officials from seeking the views of agency counsel.
        For the above reasons, the memorandum was withheld under the deliberative
        process privilege.14

These generic rationales for the privilege, without more, insufficiently explain why the privilege

should apply in these particular instances.

        DHS’s justification for withholding portions of a CRCL Impact Assessment of Border

Searches of Electronic Devices15 are similarly inadequate and illogical. DHS withheld several

pages of information under the headings “Fourth Amendment, Border Search Authority,” “First

Amendment,” and “Equal Protection and Religious/Ethnicity Discrimination.”16 Invoking the


   12
      DHS Vaughn Index 15–16.
   13
      DHS-001-00585-01847–73 (withheld in full).
   14
      DHS Vaughn Index 23.
   15
      Hellman Decl. Ex. M, DHS-001-00585-00894.
   16
      Id., DHS-001-00585-00903–08, DHS-001-00585-00911–13 (DHS Vaughn Index 21).


                                                14
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deliberative process privilege, DHS stated that it had “redacted legal analyses proffered by CRCL

to the DHS Secretary relative to CBP’s border search authority, authority to search electronic

devices at the border, and First Amendment considerations,” and that “CRCL’s recommendations

and the arguments in favor of those recommendations were intended to advise the Secretary ‘and

do not purport to state the current position of the Department.’” DHS Vaughn Index at 21. Here,

too, DHS has failed to identify any decision to which the withheld information relates, and thus

has failed to demonstrate that the information is pre-decisional. Moreover, DHS’s characterization

of the withheld legal analyses as privileged is illogical, given that DHS released the conclusions

of those analyses (e.g., “The laptop border searches in the ICE and CBP policies do not violate

travelers’ First Amendment rights as defined by the courts”17) and more information under the

header “Equal Protection and Religious/Ethnicity Discrimination” than under the Fourth

Amendment or First Amendment headers. Much of the rest of the document contains unredacted

analyses and recommendations regarding CBP’s and ICE’s searches of electronic devices at the

border (e.g., information under the header “Privileged Materials”18). This stark inconsistency in

applying the deliberative process privilege undermines DHS’s claim to the privilege.

        CBP and ICE offer even paltrier explanations for their Exemption 5 withholdings. ICE

withheld a document titled “computer border search discussion topics”19 that it describes as

“responses to DOJ’s questions relating [to] DHS’s border search authority” and “prepared . . . in

advance of further senior level discussions.”20 It does not identify the policy or decision in support

of which the document was prepared. Finally, CBP withheld in full “spreadsheets detailing border




   17
      Id., DHS-001-00585-00912.
   18
      Id., DHS-001-00585-00915.
   19
      2017-ICLI-0011 62–64; 2017-ICLI-0011 67–82 (withheld in full).
   20
      ICE Vaughn Index 10–14.


                                                 15
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searches of electronic devices,”21 described them as “[r]ecords listing and analyzing past border

searches of electronic devices and detailing the reasons for search and/or biographic information

regarding the subject of the search,” and justified their withholding under Exemption 5 as follows:

“Information compiled and analyses conducted to support recommendations to agency

leadership.”22 This characterization offers no explanation as to why this apparently factual

information should be withheld due to deliberative process privilege; it does not even assert that

the information is pre-decisional.23

        Without pointing to the decisions or deliberate processes to which these documents relate,

the Agencies’ Vaughn index entries do not provide the Court with the information necessary to

“determine the existence of each essential element of an incorporated privilege.” Judicial Watch,

Inc. v. U.S. Dep’t of Hous. & Urban Dev., 20 F. Supp. 3d 247, 257 (D.D.C. 2014). Consequently,

the Agencies have failed to meet their burden to justify the withholding of information from these

documents under Exemption 5.

        B.     Attorney-Client Privilege and Work Product Privilege

        The Agencies assert that certain categories of information fall within the attorney-client

privilege or work product privilege and were therefore properly withheld under Exemption 5, but

they provide insufficient information to support their claims. “Attorney-client privilege is narrowly

construed and is limited to those situations in which its purposes will be served,” and it “protects

only those disclosures necessary to obtain informed legal advice which might not have been made

absent the privilege.” Coastal States Gas Corp., 617 F.2d at 862–63 (quoting Fisher v. United



   21
     CBP Vaughn Index 27–28; Hellman Decl. Ex. H, March 15, 2019 release letter.
   22
     CBP Vaughn Index at 27–30.
  23
     CBP does not identify which Exemption 5 privilege it wished to invoke, but the explanation
does not mention the involvement of attorneys, so it clearly falls outside the attorney-client and
work product privileges.


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States, 425 U.S. 391, 403 (1976)). To justify a withholding based on attorney-client privilege, an

agency must provide in its Vaughn index the same type of information that would be required in a

privilege log: namely, it must “state the subject matter, number of pages, author, date created, and

identities of all persons to whom the original or any copies of the documents were shown or

provided.” Hornbeck Offshore Transp., LLC v. U.S. Coast Guard, No. Civ. A. 04-1724 (CKK),

2006 WL 696053, at *14 (D.D.C. Mar. 20, 2006) (quotation marks omitted); see also Dir. of the

Office of Thrift Supervision v. Ernst & Young, 795 F. Supp. 7, 11 (D.D.C. 1992). The agency must

also “‘demonstrat[e] . . . confidentiality at both the time of the communication and maintained

since,’” Am. Oversight v. U.S. Gen. Servs. Admin., 311 F. Supp. 3d 327, 342 (D.D.C. 2018)

(quoting Coastal States Gas Corp., 617 F.2d at 863), and must “establish that the ‘advice given

[was] predominantly legal . . . in nature.’” Id. (quoting Boca Investings P’Ship v. United States, 31

F. Supp. 2d 9, 11 (D.D.C. 1998)).

       The requirements are similar for agency claims of work product privilege, which “shields

from discovery ‘documents and tangible things that are prepared in anticipation of litigation or for

trial by or for another party or its representative.’” Judicial Watch, Inc., 2019 WL 4644029, at *6

(quoting Fed. R. Civ. P. 26(b)(3)). To invoke work product privilege, the Agencies “must therefore

do four things: ‘(1) provide a description of the nature of and contents of the withheld document,

(2) identify the document’s author or origin, (3) note the circumstances that surround the

document’s creation, and (4) provide some indication of the type of litigation for which the

document’s use is at least foreseeable.’” Id. (quoting Ellis v. U.S. Dep’t of Justice, 110 F. Supp.

3d 99, 108 (D.D.C. 2015)). In all cases, “terse” assertions are inadequate. Am. Immigration

Council, 950 F. Supp. 2d at 243.




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          Here, the Agencies invoke the attorney-client privilege without providing the details

necessary for the Knight Institute or the Court to evaluate the validity of their claims. An

explanation purporting to justify invocation of the attorney-client privilege is “insufficient” if it

fails to show that “the communication was and remains confidential” and that “the communication

had a primary purpose of obtaining or providing legal advice.” Am. Oversight, 311 F. Supp. 2d at

342. DHS’s and ICE’s explanations failed to demonstrate their withheld information was, in fact,

kept confidential. For example, DHS attempted to justify its withholding of e-mail

communications between the DHS Office of the General Counsel and the CBP Office of the Chief

Counsel with the following conclusory statement: “The email communications contain

information obtained by agency counsel from their clients while securing legal advice or

services.”24 Similarly, ICE withheld documents containing “DOJ’s questions relating to DHS’s

border search authority” and described them as “[c]ommunications from clients to their attorneys

made for the purpose of securing legal advice or services, here responses to questions posed by

DOJ to DHS and its components (including ICE, CBP, and USCG) in regard to DHS’s border

search authorities.”25 These statements do not establish that the allegedly privileged information

was confidential at the time of communication and has remained confidential since. Rather, they

resemble the statement at issue in American Immigration Council, where the agency asserted that,

“[i]n each instance, the client was seeking legal advice from the attorney,” and that “these materials

were intended to be confidential and to be shared only with clients.” 950 F. Supp. 2d at 243.

Because this explanation failed to “demonstrate confidentiality in fact,” the court found it




   24
        Hellman Decl. Ex. I, DHS-001-00585-000117–33 (DHS Vaughn Index 8)..
   25
        ICE Vaughn Index 12; 2017-ICLI-0011 62–64, 2017-ICLI-0011 67–82 (withheld in full).


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inadequate. Id. DHS’s and ICE’s explanations as to their claims of attorney-client privilege are

likewise inadequate.

        The Agencies’ attempts to justify these withholdings under work product privilege have

failed for similar reasons. DHS also invoked the work product privilege in withholding the e-mail

communications between the DHS Office of the General Counsel and the CBP Office of the Chief

Counsel,26 stating: “In this instance the records were created not only with the intention of

providing legal advice to the Secretary, but they were created by agency counsel in anticipation of

and in preparation for ongoing and future litigation involving the search of electronic devices at

the border.”27 ICE withheld the documents containing “DOJ’s questions relating to DHS’s border

search authority” as alleged work product, too, with the explanation that “[t]he withheld

information was created by agency counsel in anticipation of and in preparation for ongoing and

future litigation, specifically, challenges raised to DHS’s border search authority . . . . The

documents contain questions and responses prepared for the specific purpose of informing the

development of the agencies’ litigation strategy.”28 These explanations are far from sufficient.

They do not identify the author and origin of any of the withheld information, and their descriptions

of the contents of the documents, and of the litigation in anticipation of which they were prepared,

are so general as to be boilerplate. See Am. Immigration Council, 950 F. Supp. 2d at 242

(concluding that statement, “[t]hese materials were drafted by attorneys in contemplation of

litigation and are therefore attorney work product,” was insufficient to support claim of work

product privilege); see also Judicial Watch, Inc., 2019 WL 4644029, at *6.

                                          *      *       *



   26
      Hellman Decl. Ex. L, DHS-001-00585-0117–133.
   27
      DHS Vaughn Index 8–9.
   28
      ICE Vaughn Index 13; 2017-ICLI-0011 62–64, 2017-ICLI-0011 67–82 (withheld in full).


                                                 19
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        The Agencies thus have failed to carry their burden in justifying their withholdings under

Exemption 5, and the Court should therefore grant summary judgment in favor of the Knight

Institute.

II.     CBP IMPROPERLY WITHHELD INFORMATION UNDER EXEMPTIONS 6
        AND 7(C).

        CBP improperly invoked Exemptions 6 and 7(C) to withhold non-identifying information

about travelers who were subjected to electronic device searches from EMRs and spreadsheets

summarizing data relating to those searches.

        Exemption 7(C) protects “records or information compiled for law enforcement purposes,

but only to the extent that the production of such law enforcement records or information . . . could

reasonably be expected to constitute an unwarranted invasion of personal privacy.” 5 U.S.C. § 552

(b)(7).29 To support an invocation of Exemption 7(C), an agency must first demonstrate that there

is a “substantial probability that disclosure will cause an interference with personal privacy.” Nat’l

Ass’n of Retired Fed. Emps v. Horner, 879 F.2d 873, 878 (D.C. Cir. 1989) (emphasis added). Even

where the agency meets that requirement, Exemption 7(C) requires a balancing: “In deciding

whether the release of particular information constitutes an ‘unwarranted’ invasion of privacy

under Exemption 7(C), [the Court] ‘must balance the public interest in disclosure against the

[privacy] interest Congress intended the Exemption to protect.’” ACLU v. U.S. Dep’t of Justice,

655 F.3d 1, 6 (D.C. Cir. 2011) (quoting U.S. Dep’t of Justice v. Reporters Comm. for Freedom of

the Press, 489 U.S. 749, 776 (1989)).




29
   CBP invoked Exemptions 6 and 7(C); because courts have held that Exemption 7(C) is more
protective than Exemption 6, we limit our analysis to Exemption 7(C). See ACLU v. U.S. Dep’t
of Justice, 655 F.3d 1, 7 (D.C. Cir. 2011).


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        CBP’s justifications for its withholdings under Exemptions 6 and 7(C) are inadequate for

two reasons. First, CBP has categorically redacted certain information—like travelers’ countries

of birth, ethnicities, and citizenship statuses—without demonstrating that the disclosure of that

information would intrude upon any traveler’s personal privacy. Second, because the privacy

interests at stake are minimal at best, CBP cannot demonstrate that those interests outweigh the

public interest in disclosure.

        A.     CBP Categorically Withheld Non-Identifying Information.

        CBP has categorically redacted from EMRs30 and related spreadsheets certain information,

the disclosure of which cannot constitute an unwarranted invasion of any individual’s personal

privacy. Specifically, CBP has withheld information about the ethnicities, countries of birth, and

citizenship statuses of the otherwise anonymized travelers whose devices were searched at the

border.31 E.g., Hellman Decl. Ex. A, CBP004721 (CBP Vaughn Index 3–6).32 CBP redacted the

same information from the spreadsheet it produced to the Knight Institute providing the field data

entries for all of device searches conducted between October 5, 2012 and December 31, 2017.

Hellman Decl. Ex. B, CBP003182 (CBP Vaughn Index 3–6).33 In some instances, CBP has also



   30
      Most of the records of electronic device searches CBP released in this case were EMRs.
While some of the released search reports are not EMRs, those documents contain the same
problematic withholdings addressed here, and this argument applies with equal force to those
documents. See, e.g., CBP’s March 22, 2019 release (pp. 18–21, 24–25, 32, 34, 36, 42, 44, 46, 48,
50, 52, 54, 56, 58, 60, 64, 66, 68, 81–86); CBP’s Aug. 2, 2019 release (pp. 10, 13–16, 20–23, 27–
29, 31–34, 42–46, 50–52, 56, 59–66) (CBP Vaughn Index 3–6).
   31
      The Knight Institute challenges CBP’s withholdings from the following EMRs: CBP000040–
53, CBP001417–1594, CBP001704–06, CBP001708–09, CBP001711–14, CBP001737–38,
CBP001755–1965, CBP002032–2310, CBP002311–2588, CBP002589–2877, CBP002878–4605,
CBP004606–4889, CBP005112–15, CBP005150–52, CBP005156–64, CBP005173, CBP005200,
CBP005229–30, CBP’s Nov. 1, 2018 release (pp. 1–177), and CBP’s Aug. 2, 2019 release (pp.
81–84) (CBP Vaughn Index 3–6).
   32
      CBP withheld this information categorically throughout EMRs, see supra n. 31.
   33
      CBP withheld this information categorically in additional spreadsheets, see CBP000057–211,
CBP000235–92, CBP000348–429, CBP000660–1416, CBP005119–44, CBP005165–70,


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redacted the travelers’ occupations and the purpose and duration of their trips. See Hellman Decl.

Ex. C, CBP001469 (CBP Vaughn Index 3–6).34

       These withholdings do not meet the requirements of Exemption 7(C) at the first step,

because these categories of information are not identifying and therefore their disclosure cannot

result in an unwarranted invasion of privacy. For example, CBP withheld from one EMR the

traveler’s country of birth, citizenship, and information that would reveal the places the traveler

had recently visited.35 The odds that such information can be tied to any person, even in context,

are vanishingly small, given that CBP has also withheld travelers’ names, the names and

descriptions of their family members, their dates of birth, their addresses, and their social media

handles, none of which the Knight Institute challenges here.36 See ACLU v. Dep’t of Justice, 655

F.3d 1, 10 (D.C. Cir. 2011) (“In this case . . . disclosure will reveal only the ‘bits,’ not the

‘whole.’”). Therefore, CBP has not shown that there is any probability, let alone a “substantial”

one, that the disclosure of travelers’ countries of birth, citizenship statuses, and ethnicities “will

cause an interference with personal privacy.” Nat’l Ass’n of Retired Fed. Emps v. Horner, 879

F.2d at 878 (emphasis added).




CBP005209–16, and CBP005231–57, CBP’s Mar. 15, 2019 release (271 pages withheld in full),
CBP’s Mar. 22, 2019 release (pp. 5, 13–17) (CBP Vaughn Index 8–11, 23–27, 27–30).
   34
      See also CBP001469, CBP001471, CBP001826, CBP002257, CBP002446, CBP002767,
CBP002769, CBP002776, CBP002788, CBP003022, CBP003132, CBP003168, CBP003171,
CBP004843 (CBP Vaughn Index 3–6).
   35
      Hellman Decl. Ex. D, CBP002295–96 (CBP Vaughn Index 3–6).
   36
      The Knight Institute is not challenging the redaction of information that is actually personally
identifying, such as names, addresses, and social media handles of travelers who have been
searched.


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        B.      The Public Interest in Disclosure Outweighs the Minimal Privacy Interests at
                Stake.

        Even if CBP had demonstrated that disclosure of the withheld information might interfere

with personal privacy, disclosure would still be required because the public’s interest in this

information far outweighs “the nature and scope of [any] privacy invasions that would flow from

disclosure.” Fed. Labor Relations Auth. v. U.S. Dep’t of Treasury, 884 F.2d 1446, 1452 (D.C. Cir.

1989). In ACLU v. United States Department of Justice, the ACLU sought docket information for

criminal prosecutions involving the use of warrantless cell phone tracking. 655 F.3d 1 (D.C. Cir.

2011). The D.C. Circuit ordered the Department of Justice to release docket information for cases

in which individuals had been found or had pleaded guilty. Id. at 16. The court explained that the

use of warrantless cell phone tracking was “a topic of considerable public interest . . . [and] has

received widespread media attention,” and concluded that disclosure “would inform this ongoing

public policy discussion by shedding light on the scope and effectiveness of cell phone tracking as

a law enforcement tool.” Id. at 13. The majority emphasized: “Whether the government’s tracking

policy is legal or illegal, proper or improper, is irrelevant to this case. . . . ‘Matters of substantive

law enforcement policy . . . are properly the subject of public concern,’ whether or not the policy

in question is lawful.” Id. at 14.

        The court’s reasoning in ACLU underscores the strong public interest in disclosure here.

First, the government’s suspicionless searches of electronic devices at the border is a topic “of

considerable public interest.” Id. at 13. The Knight Institute filed its Request due to concerns that

CBP policies “authorize[d] invasive searches of sensitive data” with “few policy protections.” See

Request at 2. It was particularly concerned about widespread reports that border officers were

targeting journalists and Muslims, including Muslim Americans, in exercising their broad

discretion to conduct these invasive searches. See Pl.’s Statement Pursuant to LCvR 7(h)(1) ¶ 5.


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These concerns have grown only more pronounced over time, as the government has reportedly

exercised its claimed border search authority to detain and search more journalists, as well as

activists and attorneys. See, e.g., Tom Jones et al., Source: Leaked Documents Show the U.S.

Government Tracking Journalists and Immigration Advocates Through a Secret Database, NBC7

(March 6, 2019), https://perma.cc/2W5D-X6FS. The disclosure, then, of information about

travelers’ ethnicities, citizenship statuses, occupations, and countries of origin is critical to inform

the public of the scope of CBP’s reliance on electronic device searches as a “law enforcement

tool.” ACLU v. Dep’t of Justice, 655 F.3d 13. Second, the constitutionality of this law enforcement

tool has come under not only public scrutiny but also judicial and congressional scrutiny—just like

the constitutionality of warrantless cell phone tracking in ACLU. See, e.g., Alasaad, 2019 WL

5899371, at *20 (concluding that suspicionless electronic device searches are unconstitutional);

Examining Warrantless Smartphone Searches at the Border: Hearing Before the Subcomm. on

Federal Spending Oversight and Emergency Mgmt. of the S. Comm. On Homeland Sec. and

Governmental Affairs, 115th Cong. (2018), https://perma.cc/5UE9-K4AW.

       Finally, as in ACLU, disclosure of the withheld information carries—at most—minimal

privacy implications. In ACLU, some information about the criminal proceedings was already

available to the public. ACLU, 655 F.3d at 8. Here, the information the Knight Institute seeks is

not personally identifying. Even if it were somehow possible to identify a traveler based only on

their ethnicity, country of origin, and citizenship status, the public interest would still outweigh

the privacy interests at play, because CBP has not—and cannot—“delineate the specific harm

faced by [travelers] from the disclosure” of the demographic information challenged here.

100Reporters LLC v. U.S. Dep’t of Justices, 316 F. Supp. 3d 124, 162 (D.D.C. 2018).




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        In sum, much of the information CBP withheld categorically under Exemptions 6 and 7(C)

does not implicate personal privacy at all because it does not identify any person. Even if CBP had

withheld information that might lead to the identification of a person, the public interest in

disclosure of this information is overwhelming. The Court should therefore grant summary

judgment in favor of the Knight Institute.

III.    CBP and ICE Improperly Withheld Information Under Exemption 7(E).

        CBP and ICE failed to justify their reliance on Exemption 7(E) in withholding responsive

information from policies and handbooks, internal memoranda, internal presentations, search

reports, traveler complaints, spreadsheets, and internal communications.37

        Exemption 7(E) allows agencies to withhold responsive law enforcement records only “to

the extent that the production of such law enforcement records or information . . . would disclose

techniques and procedures for law enforcement investigations or prosecutions, or would disclose

guidelines for law enforcement investigations or prosecutions if such disclosure could reasonably

be expected to risk circumvention of the law.” 5 U.S.C. § 552(b)(7)(E). “The phrase ‘techniques

and procedures’ . . . refers to how law enforcement officials go about investigating a crime.”

Whittaker v. U.S. Dep’t of Justice, No. 18-CV-01434 (APM), 2019 WL 2569915, at *2 (D.D.C.

June 21, 2019) (quoting Allard K. Lowenstein Int’l Human Rights Project v. Dep’t of Homeland




   37
      Specifically, the Knight Institute challenges CBP’s withholding of the following documents
in full or in significant part: EMRs, supra n.31 (identifying EMRs), spreadsheets, supra n.33
(identifying spreadsheets), traveler complaints, supra n.34 (identifying traveler complaints); a
pilot program PowerPoint presentation, CBP00212–34 (CBP Vaughn Index 11–13); and internal
communications and correspondence with CRCL, CBP005115, CBP005117, Mar. 15, 2019
release (pp. 2–3, 33–37, 42–51, 55–61), Mar. 22, 2019 release (pp. 1–17, 26–28, 70–79), Aug. 2,
209 release (pp. 1–84) (CBP Vaughn Index 1–3, 23–27). The Knight Institute challenges ICE’s
withholding of the following policies and handbooks in full or in significant part: 2017-ICLI-
00011 2–15, 2017-ICLI-00011 16–26, 2017-ICLI-00011 27–30, 2017-ICLI-00011 31–36 (ICE
Vaughn Index 3–10).


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Sec., 626 F.3d 678, 682 (2d Cir. 2010)). “The term ‘guidelines’ . . . generally refers in the context

of Exemption 7(E) to resource allocation.” Shapiro v. U.S. Dep’t of Justice, 153 F. Supp. 3d 253,

273 (D.D.C. 2016) (quoting Allard, 626 F.3d at 682). Regardless of whether an agency invoking

Exemption 7(E) claims that the withheld information would disclose a guideline, technique, or

procedure, it must demonstrate that this disclosure “could reasonably be expected to risk

circumvention of the law.” Elec. Privacy Info. Ctr. v. CBP (“EPIC”), 160 F. Supp. 3d 354, 358–

59 & n.3 (D.D.C. 2016).

       CBP and ICE have failed to meet this burden. First, CBP improperly and categorically

withheld information from EMRs and spreadsheets about the reason travelers were searched and

whether they were notified about the search. Second, ICE and CBP improperly redacted legal

analysis and background from internal memoranda, handbooks, and policies.

       A.      CBP Categorically Redacted Non-Exempt Information from EMRs and
               Spreadsheets.

       CBP failed to justify its categorical redactions under Exemption 7(E) in its declaration and

Vaughn index entries. Specifically, relying on Exemption 7(E), CBP withheld information from

EMRs and spreadsheets that would illuminate the reasons travelers were selected for searches,

whether a traveler was notified of a search, whether the traveler received a tear sheet, and if not,

why the traveler did not receive a tear sheet. CBP’s justifications for its redactions are flawed in

two ways. First, CBP categorically redacted information that does not reveal techniques,

procedures, or guidelines. Second, CBP’s conclusory explanations do not demonstrate that the

disclosure of the withheld information would result in a reasonably expected circumvention of

law.




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               1.   CBP Failed To Demonstrate That the Withheld Information Would
                    Reveal Techniques, Procedures, or Guidelines.

        From the thousands of EMRs that CBP released, it withheld information recording the

reason for each traveler’s search, whether that traveler was notified of the search, whether they

were provided with a tear sheet, and if not, the reason why the tear sheet was not provided. E.g.,

Hellman Decl. Ex. A, CBP004721 (Vaughn Index 3–6).38 CBP redacted the same information from

the spreadsheet it produced to the Knight Institute providing the field data entries for all of the

border searches of electronic devices conducted between October 5, 2012 and December 31, 2017.

Hellman Decl. Ex. B, CBP003182.39 In other spreadsheets, CBP has redacted tallies of device

searches and tables showing searches of travelers based on certain demographic information.40

        CBP has entirely failed to describe how the revelation of this information would disclose

techniques, procedures, or guidelines. CBP’s justifications for its withholdings point to no specific

techniques or procedures, instead referring obliquely to “trends that would disclose techniques,

procedures, or guidelines.” CBP Vaughn Index 5, 8–9, 14, 18, 22, 25, 28. But courts in this Circuit

have made clear that abstract descriptions like CBP’s are insufficient. See EPIC, 160 F. Supp. 3d

at 359 (rejecting CBP’s invocation of Exemption 7(E) because its Vaughn index entries did “not

provide the Court with sufficient detail regarding the law enforcement techniques or procedures

the defendant seeks to protect”). In EPIC, the court concluded that CBP had failed to justify its

withholding of certain information as techniques or procedures because it had described the


   38
      CBP made these redactions categorically throughout the EMRs, see supra n.31.
   39
      From other spreadsheets, CBP also redacted the reason for a traveler’s search, whether the
traveler was notified of the search, and/or whether the traveler was provided with a tear sheet. See
CBP000057–146, CBP000155–65, CBP000178–88, CBP000660–1416, CBP005119–44,
CBP005165–70, CBP005209–16, CBP005231–57, CBP’s Mar. 15, 2019 release (271 pages
withheld in full).
   40
      See CBP000147–54, CBP000235–92, CBP00660–1416, CBP’s Mar. 15, 2019 release (271
pages withheld in full), CBP’s Mar. 22, 2019 release (pp. 5, 13–17).


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information merely as “pertain[ing] to the ‘use,’ ‘navigation,’ and ‘capabilities’ of the AFI

system,” and the [CBP’s] “processing of internal travelers.” Id. Similarly, in American

Immigration Council, DHS included a list of redacted information but did not describe how that

information disclosed a technique or procedure. Am. Immigration Council, 950 F. Supp. 2d at 247

(listing as withheld, among other things, “TECS Access Codes, Program Codes, . . . [h]ow law

enforcement officer access databases, access case material, access agency radio channels, store

evidence, reference related cases . . .”). The court rejected DHS’s argument, explaining that

“offering a laundry list of what may be included ‘throughout’ the various documents” did not

“adequately describe the nature of the underlying technique and procedure.” Id.

       Despite this clear precedent, CBP has again provided a laundry list of categories of

withheld information without explaining what law enforcement techniques or procedures are

actually at risk of disclosure. And for the withheld information challenged here, it is not at all

evident that any non-public techniques or procedures would be disclosed. CBP has withheld

information about the reasons for a traveler’s search, but the agency also maintains that it has the

authority to conduct electronic device searches at the border without any individualized suspicion.

CBP, Border Search of Electronic Devices, CBP Directive No. 3340-049A (Jan. 4, 2018),

https://perma.cc/3QKY-MPGR (“2018 CBP Directive”) (“In the course of a basic search [of an

electronic device], with or without suspicion, an Officer may examine an electronic device and

may review and analyze information encountered at the border.”); see Alasaad, 2019 WL 5899371,

at *7. Thus, the revelation of the reason for a search—which may be no reason at all—would not

reveal any non-public law enforcement techniques or procedures. Similarly, the historical fact that

CBP searched through the devices of a certain number of phones during a given year, or even that




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it searched through the devices of a certain number of men from a certain country,41 does not reveal

anything about the way in which CBP conducts electronic device searches. See Judicial Watch,

Inc. v. U.S. Secret Serv., 579 F. Supp. 2d 182, 188 (D.D.C. 2008) (“[I]t is difficult to imagine how

disclosing a visitor’s name, the dates of his visits, and the persons visited would reveal how the

Secret Service decided to investigate that visitor or the way in which the investigation was

conducted.”). Because CBP has failed to describe the techniques, procedures, or guidelines the

withheld information would reveal, CBP has failed to justify its invocation of Exemption 7(E).

               2. CBP Failed To Demonstrate a Reasonably Expected Risk of
                  Circumvention of the Law.

        CBP has provided, at best, only conclusory justifications for withholding information

under Exemption 7(E). Agencies must “provide a relatively detailed justification for each record

that permits the reviewing court . . . to understand how disclosure would create a reasonably

expected risk of circumvention of the law,” Am. Immigration Council, 950 F. Supp. 2d at 246

(quotations omitted), and courts routinely reject the invocation of Exemption 7(E) when the agency

provides conclusory or otherwise insufficient justifications for the withholdings, PHE, Inc. v.

Dep’t of Justice, 983 F.2d 248, 252 (D.C. Cir. 1993) (describing agency’s affidavit as “too vague

and conclusory to support summary judgment” and requiring “more precise descriptions of the

nature of the redacted material and providing reasons why releasing each withheld section would

create a risk of circumvention of the law”).

        First, rote and conclusory reasoning “is not enough to justify withholding records under

the FOIA.” ACLU of S. Cal. v. U.S. Citizenship & Immigration Servs., 133 F. Supp. 3d 234, 243




   41
      See Hellman Decl. Ex. E, CBP000147–54; Hellman Decl. Ex. EE, CBP’s Mar. 22, 2019
release (pp. 5, 13–17); see also CBP000235–92; CBP00660–1416; CBP’s Mar. 15, 2019 release
(271 pages withheld in full).


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(D.D.C. 2015) (Chutkan, J.); Banks v. Dep’t of Justice, 813 F. Supp. 2d 132, 145 (D.D.C. 2011)

(same). In ACLU of Southern California v. U.S. Citizenship & Immigration Services, the agency

engaged in “lengthy discussion of the nature of the records, but merely state[d] without explanation

that . . . [i]f released, this information would disclose techniques and procedures for law

enforcement investigations and could reasonably be expected to risk circumvention of the law by

future applicants.” ACLU of S. Cal., 133 F. Supp. 3d at 243. This Court rejected the agency’s

attempted justification, explaining that there was “no explanation of how the information, if

released, could risk circumvention of the law.” Id. CBP’s attempted justifications here suffer from

the same deficiency. CBP states that information about whether a tear sheet was provided after a

search in specific cases would allow the public to “form[] a basis for comparison for the handling

of different inspections.” CBP Vaughn Index 6. But even if CBP is correct, it has not begun to

explain how that comparison could enable a lawbreaker to thwart any CBP investigations. This

Court should therefore reject its “vague and conclusory explanations [of] why those records should

be withheld pursuant to Exemption 7(E).” ACLU of S. Cal., 133 F. Supp. 3d at 243.

       Second, courts have also rejected the invocation of Exemption 7(E) where, as here, an

agency’s argument about the risk of circumvention is simply illogical. Long v. ICE, 279 F. Supp.

3d 226, 234 (D.D.C. 2017) (“[T]he Government cannot simply cite Exemption 7(E) and expect

the court to rubber stamp its withholdings. At a minimum, the Government must show that its

stated expectation of risk is reasonable.”); see also Families for Freedom v. U.S. Customs &

Border Prot., 837 F. Supp. 2d 287, 297 (S.D.N.Y. 2011) (determining that release of “job titles of

the attendees at the meeting,” among others, would not result in the reasonably expected

circumvention of law).




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       Take, for example, CBP’s withholding of aggregate information about the sex and the

country of origin of individuals searched over a given period of time. Hellman Decl. Ex. E,

CBP000147 (CBP Vaughn Index 8–11). CBP’s justification is that disclosure of that information

would “risk circumvention of the law by revealing non-public law enforcement techniques,

capabilities or vulnerabilities, the circumstances in which such techniques, capabilities or

vulnerabilities may be encountered, and/or the nature of the law enforcement interest in particular

circumstances.” CBP Vaughn Index 2. CBP’s explanation does not articulate any logical

connection between statistics about searches by gender and country of origin and the

“circumstances in which . . . techniques, capabilities, or vulnerabilities may be encountered.” Even

if it were logical to assume that years-old statistics about electronic device searches would

somehow reveal “circumstances in which . . . techniques . . . may be encountered,” CBP has not

explained how the revelation of this information would logically create a reasonably expected risk

of circumvention of the law. CBP’s decision to reveal the genders of travelers in individual EMRs

and the summary spreadsheet of electronic device searches, see Hellman Decl. Exs. D and E,

CBP004721, CBP003182, makes clear that even CBP does not believe that revelation of a

traveler’s gender creates a reasonably expected risk of circumvention of the law.

       CBP’s attempts to explain how the other categorical 7(E) redactions create a risk of

circumvention of the law are similarly illogical. For example, CBP has withheld information about

its reasons for searching travelers, but the agency also maintains that it may conduct electronic

device searches without any individualized suspicion. 2018 CBP Directive; see Alasaad, 2019 WL

5899371, at *7. If searches may be conducted randomly or arbitrarily, travelers cannot evade the

risk of being searched by studying the reasons for other travelers’ searches—which may often be,

under the CBP’s own directive, “no reason at all”—and trying to avoid that behavior. Knowing




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that in 2015 a traveler was the subject of a device search for no reason, or even knowing that in

2015, half of all searches were conducted for no reason, does not allow any traveler to anticipate

and evade electronic device searches in the future.

        Thus, CBP’s categorical redactions under Exemption 7(E) have failed on two levels. CBP

has not articulated any particular law enforcement techniques, procedures, or guidelines that would

be revealed if the withheld information were released, and CBP has not demonstrated that the

disclosure of that information would create a reasonably expected risk of circumvention of the law.

        B.     CBP and ICE Improperly Withheld Information From Policies, Handbooks,
               Memoranda and Presentations That Do Not Describe Techniques, Procedures,
               or Guidelines.

        CBP and ICE have also unlawfully withheld from policies, handbooks, memoranda, and

presentations information that cannot be classified as techniques, procedures, or guidelines. First,

ICE withheld information that evidently consists of legal analysis, which is “precisely the type of

information appropriate for release under the FOIA.” PHE, Inc., 983 F.2d at 251–52. Second, CBP

redacted information about internal policy discussions and studies, which are not techniques,

procedures, or guidelines.

        Invoking Exemption 7(E), ICE redacted sections of its internal handbooks and guidebooks

under, for example, the headings “Search Warrant” and “Title III Court Order,” Hellman Decl. Ex.

F, 2017-ICLI-00011 27–30 (ICE Vaughn Index 7–8), and “FISA Application in Lone Wolf

Situations,” Hellman Decl. Ex. G, 2017-ICLI-00011 31–36 (ICE Vaughn Index 9–10).42 These



   42
      This argument also applies to ICE’s withholdings of a Homeland Security Investigation
Computer Forensic Handbook section on “Consent”, 2017-ICLI-00011 2–15 (ICE Vaughn Index
3–5), a section of the Child Exploitation Handbook on “Judicial Responsibility,” 2017-ICLI-00011
27–30 (ICE Vaughn Index 7–8), and Search and Seizure Handbook sections on “Administrative
Searches,” “Functional Equivalent of the Border,” and “Extended Border”, 2017-ICLI-00011 16–
26 (ICE Vaughn Index 5–7).


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sections manifestly involve legal analysis and discussion rather than the type of confidential,

technical procedures Exemption 7(E) was designed to protect. See PHE, Inc., 983 F.2d at 251

(“[The government] does not explain why the agency could not release . . . the discussion of search

and seizure law and the digest of useful caselaw. Material like this is precisely the type of

information appropriate for release[.]”). In Shapiro v. U.S. Department of Justice, the FBI argued

that search slips—which detailed the FBI’s searches after receiving FOIA requests—revealed

techniques or procedures because their disclosure could reveal the FBI’s invocation of 5 U.S.C.

§ 552(c) in individual cases. But the court rejected the FBI’s argument, explaining that the FBI’s

“exercise of its statutory authority” was “not the kind of ‘technique’ or ‘procedure’ to which

Exemption 7(E) refers.” Shapiro, 153 F. Supp. 3d at 273. As in Shapiro, ICE cannot invoke

Exemption 7(E) to withhold its own description of its legal authority, because analysis of caselaw

and regulations is “not the kind of ‘technique’ or ‘procedure’ to which Exemption 7(E) refers.” Id.

        Second, CBP has withheld information from records containing communications about the

CRCL’s Impact Assessment on Border Searches of Electronic Devices.43 For example, in one

document, CBP withheld the “findings” column within a table summarizing CRCL’s findings and

CBP’s recommendations to address those findings. See Hellman Decl. Ex. FF, CBP’s Mar. 15,

2019 release (p. 37) (CBP Vaughn Index 23–27). But CBP has not attempted to explain how

CRCL’s findings would reveal non-public techniques, procedures, and guidelines. Nor can it,

because the majority of the Impact Assessment has already been released. CBP’s attempt to shield




   43
     CBP Internal Affairs Report: Border Search of Electronic Devices and Documents, CBP’s
Mar. 15, 2019 release (p. 37), Electronic Device Inspection: A Follow-Up Study to CRCL, CBP’s
Mar. 22, 2019 release (pp. 1–17), CBP Comment on CRCL Impact Assessment for Border
Searches of Electronic Devices, CBP’s Mar. 22, 2019 release (pp. 70–79) (CBP Vaughn Index 23–
27).


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this information under Exemption 7(E) is therefore misplaced, and the Court should reject these

withholdings.

                                         *       *       *

       Thus, CBP and ICE have improperly withheld information under Exemption 7(E). CBP

improperly withheld information in categorical fashion from search reports and spreadsheets

without sufficiently explaining what techniques, procedures, or guidelines would be revealed

through disclosure and without connecting its withholdings to a reasonably expected risk of

circumvention of the law. ICE and CBP also improperly withheld information from internal

memoranda, handbooks, and policies that would not reveal the kinds of law enforcement

techniques or procedures Exemption 7(E) protects.

IV.    DHS, CBP, and ICE Failed to Release All Segregable, Non-Exempt Information.

       FOIA requires that any “reasonably segregable portion of the record” be disclosed to a

requester. 5 U.S.C. § 552. “The focus of the FOIA is information, not documents, and an agency

cannot justify withholding an entire document simply by showing that it contains some exempt

material.” Mead Data Cent., 566 F.2d at 260. As always, it is the agency’s burden to “describe[]

the justifications for withholding the information with specific detail.” DiBacco v. Dep’t of the

Army, 926 F.3d 827, 834 (D.C. Cir. 2019). “If a record contains information that is exempt from

disclosure, any reasonably segregable information must be released after deleting the exempt

portions, unless the nonexempt portions are inextricably intertwined with exempt portions.”

Trans–Pacific Policing Agreement v. U.S. Customs Serv., 177 F.3d 1022 (D.C. Cir. 1999). The

court errs if it “simply approve[s] the withholding of an entire document without entering a finding

on segregability, or the lack thereof.” Powell v. U.S. Bureau of Prisons, 927 F.2d 1239, 1242 n.4

(D.C. Cir. 1991). An agency also has the burden of detailing what proportion of the information




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in a document is non-exempt and how that material is dispersed throughout the document. See

Mead Data Cent., 566 F.2d at 261. Any non-exempt information that is reasonably segregable

from the requested records must be disclosed. Oglesby v. U.S. Dep’t of the Army, 79 F.3d 1172,

1178 (D.C. Cir. 1996).

        The Agencies have not met their obligation of releasing all reasonably segregable

information. Although DHS, CBP, and ICE state that they reviewed the documents “line by line,”

and released all “reasonably segregable” information, Holzer Decl. ¶ 9, Howard Decl. ¶ 40,

Fuentes Decl. ¶ 48, those assertions are insufficient. “Th[e] presumption of compliance . . . does

not obviate the government’s obligation to carry its evidentiary burden and fully explain its

decisions on segregability . . . [The government] must also provide descriptions of excerpts

deemed to be non-segregable, with explanations as to these decisions.” Am. Immigration Council,

950 F. Supp. 2d at 248. None of the Agencies addressed the segregability of specific documents

or categories of documents in any of their filings, despite the fact that, in many instances, the

Agencies withheld the documents in full. The Agencies have left the Court with no way to

determine whether their withholdings were “logical” or “plausible.” See Judicial Watch, Inc. v.

U.S. Dep’t of Def., 715 F.3d 937, 941 (D.C. Cir. 2013).

        A review of the documents DHS, CBP, and ICE produced in this case make evident that

the Agencies failed to release all segregable information. First, DHS has failed to produce

segregable information from documents that contain withholdings under Exemptions 5 and 7(E).44



   44
      The Knight Institute challenges DHS’s withholding of the following documents in full or in
significant part: email communications and spreadsheets between CRCL and CBP, DHS-001-
00585-000463–83, DHS-001-00585-000486–90 (DHS Vaughn Index 7); email communications
between the DHS Office of the General Counsel and the CBP Office of the Chief Counsel, DHS-
001-585-000117–33 (DHS Vaughn Index 8–9); a draft document by an unidentified CRCL
employee, DHS-001-00585-000298 (DHS Vaughn Index 15–16); Memorandum from CRCL to
Homeland Security Investigations (HSI), DHS-001-00585-000533–37 (DHS Vaughn Index 16);


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DHS withheld an email exchange discussing talking points for an upcoming “S1” meeting.

Hellman Decl. Ex. I, DHS-001-585-000123 (DHS Vaughn Index 8–9). The talking points are

entirely withheld under Exemption 5, yet it is clear that they contain segregable factual information

and legal analysis. For example, the emails reveal that the talking points cover “what [DHS]

currently do[es] with respect to technology at the border,” id. at DHS-001-585-000127, and “the

9th Cir[cuit]’s reasonable suspicion standard for invasive [electronic device] searches,” id. at DHS-

001-585-000123. These are precisely the kinds of “segregable factual background” descriptions,

Pub. Emps. for Environmental Responsibility v. U.S.E.P.A., 926 F. Supp. 2d 48, 57 (D.D.C. 2013),

and “neutral summaries of the legal holdings of cases,” Shapiro v. U.S. Dep’t of Justice, 969 F.

Supp. 2d 18, 36 (D.D.C. 2013) that must be released under FOIA.




Memorandum from the CRCL Officer to the DHS Secretary, DHS-001-585-000189–93, DHS-
001-00585-000538–43, DHS-001-00585-01906–10 (DHS Vaughn Index 16–17); draft briefing
book materials, DHS-001-585-000153–56 (DHS Vaughn Index 18); draft memoranda from the
CRCL Officer to the DHS Secretary, DHS-001-00585-00875–82, DHS-001-00585-00893 (DHS
Vaughn Index 20); Civil Rights/Civil Liberties Impact Assessment Border Searches of Electronic
Devices dated December 29, 2011, DHS-001-00585-00903–08, DHS-001-00585-00911–13 (DHS
Vaughn Index 21); Legal Memorandum from the DHS General Counsel to the DHS Secretary,
DHS-001-00585-01873 (DHS Vaughn Index 23); email communication between the CRCL
Officer and CBP Commissioner, DHS-001-00585-01904–05, DHS-001-00585-01925 (DHS
Vaughn Index 23–24). For the same reasons described above in relation to DHS, the Knight
Institute challenges CBP’s withholding in full or significant part of CRCL documents related to
the review of CBP law enforcement activities, CBP’s Mar. 15, 2019 release (p. 51), Mar. 22, 2019
release (pp. 29–32) (CBP Vaughn Index 23–27); and documents detailing border searches of
electronic devices, see CBP’s Mar. 15, 2019 release letter (271 pages withheld in full) (CBP
Vaughn Index 27–28). Finally, the Knight Institute challenges ICE’s withholding in full of the
document titled “Computer Border Search Discussion Topics,” 2017-ICLI-0011 62–64, 2017-
ICLI-0011 67–82 (ICE Vaughn Index 10–14).


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          Second, CBP has failed to segregate nonexempt information from EMRs,45 traveler

complaints,46 and internal communications and memoranda.47CBP withheld from one EMR the

entire remarks section—nearly four pages long—is withheld under Exemptions 6, 7(C), and 7(E).

Hellman Decl. Ex. N, CBP’s Mar. 22, 2019 release (pp. 18–21) (CBP Vaughn Index 3–6). Yet

CBP only offered the conclusory statements it made in support of its withholdings from all of its

EMRs. Given the length of the document, it is clear that more is captured in the remarks section

than what is listed as categories of withheld information CBP’s Vaughn Index—including “travel

document numbers,” “unique record numbers/codes,” or even “descriptions of the particular

inspection techniques utilized.” See CBP Vaughn Index 4–5. CBP’s withholdings from traveler

complaint responses and internal communications fare no better. See, e.g., Hellman Decl. Ex. J,

CBP005274 (CBP Vaughn Index 17–20) (withholding two full pages under Exemptions 6, 7(C)

and 7(E) from a response to a traveler complaint). CBP has also redacted nearly all substance from

certain internal memoranda and communications. Though one document is nearly entirely

withheld, CBP’s Vaughn Index does not explain in any detail what information was withheld from

this memorandum in particular, nor does it explain how the document contained no segregable

factual or policy information. Hellman Decl. Ex. O, CBP’s Mar. 15, 2019 release (pp. 43–44)

(CBP Vaughn Index 1–3). Having attempted to justify its withholdings on a categorical basis, CBP



   45
      See supra n.31 (identifying EMRs). DHS also produced some records of investigations as
part of its production of CRCL documents. For the same reasons discussed above with respect to
CBP, DHS has failed to reasonably what appears to be factual background information from
certain paragraphs withheld under Exemption 7(E). See DHS-001-585-002396–99, DHS-001-585-
002563–65 (DHS Vaughn Index 36–37).
   46
     Specifically, the Knight Institute challenges CBP’s withholdings from certain traveler
complaints, CBP000532–99, CBP001595–611, CBP005258–532, CBP005533-5609, and CBP’s
Nov. 1, 2018 release (pp. 178–220) (CBP Vaughn Index 17–20).
   47
        CBP’s Mar. 15, 2019 release (pp. 33–35, 42–54, 57–61) (CBP Vaughn Index 1–3).


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failed to “fully explain its decisions on segregability.” Am. Immigration Council, 950 F. Supp. 2d

at 248.

          Third, ICE has failed to explain its withholdings from certain ROIs.48 For example, ICE

has redacted entire paragraphs under the heading “Details of Investigation.” But neither ICE’s

description nor the context of the documents themselves provides an adequate understanding of

the withheld information and whether it is in fact exempt.49 See, e.g., Hellman Decl. Ex. K, 2017-

ICLI-00011 2027–28 (ICE Vaughn Index 20–23) (withholding the entire two-and-a-half-page

narrative under Exemptions 7, 7(C), and 7(E)); see also Hellman Decl. Ex. L, 2017-ICLI-00011

1697–98 (ICE Vaughn Index 20–23) (withholding multiple pages of narrative text under the

heading “Details of Interview”).




   48
     The Knight Institute challenges ICE’s withholdings from the following ROIs: 2017-ICLI-
00011 121–23, 2017-ICLI-00011 143–46, 2017-ICLI-00011 191–94, 2017-ICLI-00011 231–39,
2017-ICLI-00011 495–500, 2017-ICLI-00011 501–06, 2017-ICLI-00011 834–36, 2017-ICLI-
00011 1010–15, 2017-ICLI-00011 1054–55, 2017-ICLI-00011 1060–62, 2017-ICLI-00011 1063–
65, 2017-ICLI-00011 1092–95, 2017-ICLI-00011 1096–98, 2017-ICLI-00011 1099–1101, 2017-
ICLI-00011 1106–14, 2017-ICLI-00011 1137–40, 2017-ICLI-00011 1155–57, 2017-ICLI-00011
1355–60, 2017-ICLI-00011 1361–68, 2017-ICLI-00011 1369–73, 2017-ICLI-00011 1391–94,
2017-ICLI-00011 1675–76, 2017-ICLI-00011 1693–96, 2017-ICLI-00011 1697–99, 2017-ICLI-
00011 1801–02, 2017-ICLI-00011 1850–51, 2017-ICLI-00011 1866–67, 2017-ICLI-00011 1870–
72, 2017-ICLI-00011 1873–74, 2017-ICLI-00011 1875–76, 2017-ICLI-00011 1900–02, 2017-
ICLI-00011 1903–07, 2017-ICLI-00011 1908–10, 2017-ICLI-00011 1911–13, 2017-ICLI-00011
1914–16, 2017-ICLI-00011 2027–29, 2017-ICLI-00011 2030–32 (ICE Vaughn Index 16–23).
   49
      ICE describes the content of its redactions in these reports as “ICE case numbers, ROI
numbers and URLs, TECS ID numbers, software names, sensitive CBP form numbers, computer
program names/techniques used to search electronic devices such as cameras, computers, cell
phones, and any other electronic devices capable of storing data, techniques/software programs
used to extract data from these electronic devices, companies currently under investigation,
detailed request for assistance from foreign government in investigations and techniques used to
provide such information, common techniques used by smugglers and methods used by the agents
in identifying such techniques.” See ICE Vaughn Index 22. But despite the long list, which
adequately describes certain redactions, none seem to point to the redactions in the “Details of
Investigation” section of the Report. See ICE-1099.


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          The Agencies’ failure here resembles the FBI’s failure in Schoenman v. FBI, 604 F. Supp.

2d 174, 198 (D.D.C. 2009). In Schoenman, the FBI’s Vaughn index explained that the redacted

portions contained “information naming intelligence components of a specific foreign government

and/or information provided by those components.” But when turning to those pages, the court

could not determine the substance of the information withheld. Here, even though the Agencies

have listed possible categories of information that might be withheld, in many instances it is

impossible to tell which of those categories of information has actually been withheld from any

particular document, and it is impossible to understand the scope of the agency’s justification for

any particular withholding. The Agencies have therefore not “provided sufficient context to

evaluate the withheld material,” and have consequently failed to show that they have produced all

segregable non-exempt information. Schoenman, 604 F. Supp. 2d at 198 (denying in part the FBI’s

motion for summary judgment and granting the plaintiff’s motion for a more complete Vaughn

index).




                                                 39
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V.        DHS and ICE Failed to Offer Any Justifications for Their Withholding of Certain
          Information.

          Finally, the Knight Institute notes that DHS’s50 and ICE’s51 declarations and Vaughn

indices are incomplete; the Agencies have failed to provide any justification for their withholding

of certain records. “The purpose of a Vaughn Index is to permit adequate adversary testing of the

agency’s claimed right to an exemption, and so the index must contain an adequate description of

the records and a plain statement of the exemptions relied upon to withhold each record.” Davidson

v. U.S. Dep’t of State, 206 F. Supp. 3d 178, 193 (D.D.C. 2016) (internal quotation marks and

citation omitted), aff’d, 728 F. App’x 7 (D.C. Cir. 2018). Because certain documents containing

withheld information simply do not appear, the Agencies’ Vaughn indices are “deficient in a

critical way” and the Court “accordingly must deny the [Agencies’] motion for summary judgment

so far as it relates to withholdings not described in its Vaughn index.” Id.




     50
      DHS failed to address the following pages of documents, which contain withheld information,
in its declaration or Vaughn index: DHS-001-00513-000001–262, DHS-001-00513-000-268–70,
DHS-001-00513-000281–98, DHS-001-00513-000303–07, DHS-001-00513-000351–715, DHS-
001-00513-000739–752, DHS-001-00513-000978–1103, DHS-001-00548-00592, DHS-001-
00585-001972–2051, DHS-001-00585-002105–06, DHS-001-00585-002111–14, DHS-001-
00585-002116–23, DHS-001-00585-002125–33, DHS-001-00585-002141–45, DHS-001-00585-
002147–51, DHS-001-00585-002155, DHS-001-00585-002273, DHS-001-00585-002283, DHS-
001-00585-002490. (DHS listed page DHS-001-00548-00592 as a page released in full, but that
page contains Exemption 6 redactions.). OIG also failed to address the spreadsheet it produced on
September 21, 2017. Nevertheless, given the limited redactions to that document, the Knight
Institute is not challenging OIG’s failure to address it.
   51
      ICE failed to address the following pages of documents, which contain withheld information,
in its declaration or Vaughn index: 2017-ICLI-00011 1, 2017-ICLI-00011 37–51, 2017-ICLI-
00011 53–61, 2017-ICLI-00011 65, 2017-ICLI-00011 83–92, 2017-ICLI-00011 109–20, 2017-
ICLI-00011 124–42, 2017-ICLI-00011 147–494, 2017-ICLI-00011 507–833, 2017-ICLI-00011
837–1009, 2017-ICLI-00011 1016–53, 2017-ICLI-00011 1056–59, 2017-ICLI-00011 1066–92,
2017-ICLI-00011 1102–03, 2017-ICLI-00011 1115–37, 2017-ICLI-00011 1141–54, 2017-ICLI-
00011 1158–354, 2017-ICLI-00011 1374–390, 2017-ICLI-00011 1395–674, 2017-ICLI-00011
1677–92, 2017-ICLI-00011 1700–800, 2017-ICLI-00011 1803–49, 2017-ICLI-00011 1852–65,
2017-ICLI-00011 1868–69, 2017-ICLI-00011 1877–99, 2017-ICLI-00011 1917–2026, 2017-
ICLI-00011 2033–58, 2017-ICLI-00011 2069–143, 2017-ICLI-00011 2145–308.


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                                         CONCLUSION

       For the reasons stated above, the Agencies have failed to justify their withholding of

information responsive to the Knight Institute’s Request. Accordingly, this Court should grant

summary judgment in favor of the Institute and order the Agencies to release the withheld

information at issue. Alternatively, the Knight Institute respectfully asks the Court to order the

Agencies to submit supplemental declarations that enable the Knight Institute and the Court to

determine the propriety of their withholdings, or to conduct an in camera review of the documents

at issue, and to identify any segregable information for prompt production to the Institute.



 March 2, 2020                                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 2, 2020, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system, which will send an electronic notice to all authorized

CM/ECF filers.



                                                     By:    /s/ Matthew S. Hellman
                                                            Matthew S. Hellman




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